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FILED

UNITED STATES DISTRICT COURT AUG 02 2018
NORTHERN DISTRICT OF ILLINOIS Judge Edmond E. Ch
EASTERN DIVISION United States District Govt

UNITED STATES OF AMERICA
No. 17 CR 822-2

. Judge Edmond E. Chang
JOSE ACOSTA
PLEA AGREEMENT
1. This Plea Agreement between the United States Attorney for the
Northern District of Illinois, JOHN R. LAUSCH, JR., and defendant JOSE ACOSTA,
and his attorney, DAVID PEILET, is made pursuant to Rule 11 of the Federal Rules
of Criminal Procedure. The parties to this Agreement have agreed upon the following:
Charge in This Case
2. The indictment in this case charges defendant with possession of a
firearm by a felon, in violation of Title 18, United States Code, Section 922(g)(1).
3. Defendant has read the charge against him contained in the indictment,
and that charge has been fully explained to him by his attorney.
4, Defendant fully understands the nature and elements of the crime with
which he has been charged.
Charge to Which Defendant Is Pleading Guilty
5. By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to Count Two of the indictment, which charges defendant with possession of a

firearm by a felon, in violation of Title 18, United States Code, Section 922(g)(1).

 
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Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in the indictment. In pleading guilty, defendant admits the following facts
and that those facts establish his guilt beyond a reasonable doubt and constitute
relevant conduct pursuant to Guideline § 1B1.3:

On or about November 15, 2017, at Chicago, in the Northern District of Illinois,
Eastern Division, JOSE ACOSTA, defendant herein, having been previously
convicted of a crime punishable by a term of imprisonment exceeding one year, did
knowingly possess in and affecting interstate and foreign. commerce a firearm,
namely, a loaded Zastava, model PAP M92 PV, 7.62x39 caliber pistol bearing serial
number M92PV040243, and a loaded Izhmash, model SAIGA, 7.62x39 caliber rifle
bearing serial number 12109709, which firearm had traveled in interstate and
foreign commerce prior to defendant’s possession of the firearm, in violation of Title
18, United States Code, Section 922(g)(1).

Specifically, on or about November 15, 2017, ACOSTA and Individual A exited
the front door of a building on the 1900 block of South Peoria Avenue in Chicago,
Illinois. ACOSTA was carrying a loaded Zastava, model PAP M92 PV, 7.62x39 caliber
pistol bearing serial number M92PV040243, and a loaded Izhmash, model SAIGA,
7.62x39 caliber rifle bearing serial number 12109709 (the “Firearms”), partially
covered in a black garment, as he exited the building. ACOSTA and Individual A

approached a man who ACOSTA now knows to be co-defendant Jose Flores, who was

 
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standing next to a minivan. When Flores opened the rear hatch of minivan, ACOSTA
placed the Firearms inside the minivan. Flores closed the hatch of the minivan and
Flores and ACOSTA walked to a nearby gangway. There, Flores paid ACOSTA
$1,100 in cash for the Firearms. FLORES got into his minivan and drove away.
ACOSTA and Individual A re-entered the building on the 1900 block of South Peoria
Avenue.

ACOSTA acknowledges that the loaded Zastava, model PAP M92 PV, 7.62x39
caliber pistol bearing serial number M92PV040243, and the loaded Izhmash, model
SAIGA, 7.62x39 caliber rifle bearing serial number 12109709 (the “Firearms”) were
manufactured outside of the state of Illinois, and therefore, that the Firearms
traveled in interstate commerce prior to his possession of the Firearms.

ACOSTA further acknowledges that, at the time he possessed the firearms, he
had previously been convicted of a crime punishable by a term of imprisonment
exceeding one year, as detailed below in Paragraph 9(c).

Maximum Statutory Penalties

7. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of 10 years’ imprisonment. This offense also
carries a maximum fine of $250,000. Defendant further understands that the judge

also may impose a term of supervised release of not more than three years.

 

 
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b. In accord with Title 18, United States Code, Section 3018,
defendant will be assessed $100 on the charge to which he has pled guilty, in addition
to any other penalty imposed.

Sentencing Guidelines Calculations

8. Defendant understands that in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. § 3553(a), which include: (@) the nature and
circumstances of the offense and the history and characteristics of the defendant; (ii)
the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, and provide just punishment for the offense, afford adequate
deterrence to criminal conduct, protect the public from further crimes of the
defendant, and provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner; (iii) the
kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.

9. For purposes of calculating the Sentencing Guidelines, the parties agree
on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be

considered in this case are those in effect at the time of sentencing. The following

 

 
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statements regarding the calculation of the Sentencing Guidelines are based on the
Guidelines Manual currently in effect, namely the November 2016 Guidelines
Manual.
b. Offense Level Calculations.

1. The base offense level is 22, pursuant to Guideline
§ 2K2.1(a)(1), because the offense involved a semiautomatic firearm that is capable
of accepting a large capacity magazine and the defendant committed the instant
offense subsequent to sustaining one felony conviction for a crime of violence, as set
forth in Paragraph 9(c)(i).

il. The government’s position is that the offense level is
increased by 4 levels, pursuant to Guideline § 2K2.1(b)(5), because defendant engaged
in the trafficking of firearms. Defendant reserves the right to contest the
applicability of the enhancement in Guideline § 2K2.1(b)(5).

iii. Defendant has clearly demonstrated a recognition and

affirmative acceptance of personal responsibility for his criminal conduct. If the

government does not receive additional evidence in conflict with this provision, and —

if defendant continues to accept responsibility for his actions within the meaning of
Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office and
the Probation Office with all requested financial information relevant to his ability to

satisfy any fine that may be imposed in this case, a two-level reduction in the offense

level is appropriate.

 
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iv. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

c. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government and stipulated below, defendant’s criminal history
points equal 5 and defendant’s criminal history category is III:

i. On or about April 29, 1998, defendant was convicted of
murder and attempted murder in the Circuit Court of Cook County and sentenced to
34 years’ imprisonment. Pursuant to Guideline 8$ 4A1.1(a) and 4A1.2(e)(1),
defendant receives 3 criminal history points for this conviction.

il. The defendant committed the instant offense while on
parole for the conviction and sentence set forth in Paragraph 9(c)(i). Pursuant to
Guidelines § 4A1.1(c), the defendant receives 2 criminal history points.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the government’s

position is that the anticipated offense level is 23, which, when combined with the

 
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anticipated criminal history category of III, results in an anticipated advisory
sentencing guidelines range of 57 to 71 months’ imprisonment, in addition to any
supervised release and fine the Court may impose.

e. Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-binding
predictions upon which neither party is entitled to rely. Defendant understands that
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.
Defendant understands that the Probation Office will conduct its own investigation
and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw his plea on the basis of the Court’s rejection of these
calculations.

10. Both parties expressly acknowledge that this Agreement is not governed
by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting any of the
sentencing guidelines may be corrected by either party prior to sentencing. The
parties may correct these errors either by stipulation or by a statement to the
Probation Office or the Court, setting forth the disagreement regarding the applicable

provisions of the guidelines. The validity of this Agreement will not be affected by

 
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such corrections, and defendant shall not have a right to withdraw his plea, nor the
government the right to vacate this Agreement, on the basis of such corrections.
Agreements Relating to Sentencing

11. Each party is free to recommend whatever sentence it deems
appropriate.

12. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdraw his guilty plea.

13. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

14. Forfeiture

15. Defendant understands that by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any property
any property used or intended to be used, in any manner or part, to commit or
facilitate commission of the offense.

16. Defendant agrees to forfeiture of the following specific property to the
United States: a Zastava model PAP M92 PV 7.62 x 39 caliber pistol bearing serial

number M92PV040243, an Izhmash model SAIGA 7.62 x 39 caliber rifle bearing

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serial number 12109709, and ammunition recovered from each firearm listed above.
In doing so, defendant admits that the property described above represents property
which facilitated the offense, as alleged in the indictment. Defendant consents to the
immediate entry of a preliminary order of forfeiture as to this specific property,
thereby extinguishing any right, title, or interest defendant has in it. If any of the
specific property is not yet in the custody of the United States, defendant agrees to
seizure of that property so that it may be disposed of according to law.

17. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, cost of imprisonment, or any other penalty the Court may
impose upon defendant in addition to the forfeiture judgment.

18. Defendant agrees to waive all constitutional, statutory, and equitable
challenges in any manner, including but not limited to direct appeal or a motion .
brought under Title 28, United States Code, Section 2255, to any forfeiture carried
out in accordance with this agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The waiver in this paragraph does not
apply to a claim of involuntariness or ineffective assistance of counsel.

Acknowledgments and Waivers Regarding Plea of Guilty
Nature of Agreement

19. This Agreement is entirely voluntary and represents the entire

agreement between the United States Attorney and defendant regarding defendant’s

criminal liability in case 17 CR 822-2.

 
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20. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of Illinois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.

Waiver of Rights

21. Defendant understands that by pleading guilty he surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charge against him, and if he does, he would have the right to a public
and speedy trial.

1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

ii. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney

would participate in choosing the jury by requesting that the Court remove

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prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

lil. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving
defendant guilty beyond a reasonable doubt, and that the jury could not convict him
unless, after hearing all the evidence, it was persuaded of his guilt beyond a
reasonable doubt. The jury would have to agree unanimously before it could return a
verdict of guilty or not guilty. |

iv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, whether or not the
judge was persuaded that the government had established defendant’s guilt beyond
a reasonable doubt.

v. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and his attorney
would be able to cross-examine them.

vi. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the

Court. A defendant is not required to present any evidence.

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Vii. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in his
own behalf.

b. Appellate rights. Defendant further understands he is waiving
all appellate issues that might have been available if he had exercised his right to
trial, and may only appeal the validity of this plea of guilty and the sentence imposed.
Defendant understands that any appeal must be filed within 14 calendar days of the
entry of the judgment of conviction.

22. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs, with the exception of the appellate rights
specifically preserved above. Defendant’s attorney has explained those rights to him,
and the consequences of his waiver of those rights.

Presentence Investigation Report/Post-Sentence Supervision

23. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charge against him,
and related matters. The government will make known all matters in aggravation

and mitigation relevant to sentencing.

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24. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and
shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent income
tax returns as specified by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,
may be used as a basis for denial of a reduction for acceptance of responsibility
pursuant to Guideline § 3E1.1 and enhancement of his sentence for obstruction of
justice under Guideline § 3C1.1, and may be prosecuted as a violation of Title 18,
United States Code, Section 1001 or as a contempt of the Court.

25. For the purpose of monitoring defendant’s compliance with his
obligations to pay a fine during any term of supervised release or probation to which
defendant is sentenced, defendant further consents to the disclosure by the IRS to
the Probation Office and the United States Attorney’s Office of defendant’s individual
income tax returns (together with extensions, correspondence, and other tax
information) filed subsequent to defendant’s sentencing, to and including the final
year of any period of supervised release or probation to which defendant is sentenced.
Defendant also agrees that a certified copy of this Agreement shall be sufficient
evidence of defendant’s request to the IRS to disclose the returns and return

information, as provided for in Title 26, United States Code, Section 6103(b).

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Other Terms

26. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine for which defendant is liable, including providing
financial statements and supporting records as requested by the United States
Attorney’s Office. |

27. Defendant understands that, if convicted, a defendant who is not a
United States citizen may be removed from the United States, denied citizenship, and
denied admission to the United States in the future.

| Conclusion

28. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

29. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and thereafter
prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant’s specific performance of this
Agreement. Defendant understands and agrees that in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

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any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in
accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement of such
prosecutions.

30. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

31. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth
in this Agreement, to cause defendant to plead guilty.

32. Defendant acknowledges that he has read this Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE: Yd /6

 

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JOHN R. LAUSCH, JR. i JOSH ACOSTA,
United States Attorney Defendant,
Fas SOA
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KAVITHA J. BABU DAVID PELET
Assistant U.S. Attorney Attorney for Defendant

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